Case 1:18-cv-00465-LEW Document 18-2 Filed 11/13/18 Page 1 of 2                                    PageID #: 118




                                            l 1~I   n :n STATES DISTRICT ('()l!RI'
                                                      DISTRH 'T OF MAINE

    BRETT BARBf.R. TFRRY 111\RM . MARY                                )
    MARY I-IJ\R'IT, and BHl IC!-: POLIQUIN ,                          )
                                                                      )
                             Plamt1fls.                               )
                                                                      )
                                                                      )       No I · 18-CV-00465 -LEW
                                                                      )
    MATTHEW DUNL AP.                                                  )
    Secretary of State of Maine .                                     )
                                                                      )
                             Defendant                                )

       DECL\RATJON OF ZAFRA WHITCOMB 1:\1 SUPPORT OF l~TERVENOR .JARED
         GOLDEN 'S OPPOSITION TO PLAINTIFFS' MOTION FOi{ A TEMPORARY
                              RESTRAINING ORDER

    Pursuant to 28 USC              ~     1746, I, Zafra Whi tcomb. declare as follows :

               I.            l reside at 126 Congress Street. Belfast. Maine I am a registered Maine voter at

  this address.

               2             Jn the November 6. 2018 genera l election, I utilized Mame ' s Ranked-Choice

  Voting (" RCV'") system when voting for candidates i<.)r election in tvlaine ' s Second Congressional

  District I voted for 2 candidates in the following order: (I) Tiffany Bond ; (2) Jared Golden I did

  not rank Bruce Poliquin at all.

               3             I voted in th is manner on the understanding that my vote in each round of voting

   wo uld go to my highest-ran ked candidate rem aining in that round I was not confused by the RCV

  S)   stem.

               4             Had the RCV system not been in place, and I \vas onl y able to select one

  candidate         111   the contest in Maine ·~ Second Congressional Distnct 111 the November 6, 20 I 8

   gl'ncrn l ckction. I wou ld have votcJ l<)r Jared (-; olden .
Case 1:18-cv-00465-LEW Document 18-2 Filed 11/13/18 Page 2 of 2                              PageID #: 119




          5       Ranked chrnce provides me with an opportunity to full y express my op1111ons

 through votmg_while still ensuring that if my favored candidates do not have the necessaiy

 support to he elected. my voice is still heard

          6       My understanding \Vas that the election for the Second Congressional District was

 gomg to take place under the RC\/ system I based this understanding on the fac t that ranked

 choice voting had been approved by the voters of Maine repeatedly and had survived through

 numerous legal challenges prior to tlllS election When I voted     111   the election for the Second

 Congressional District, I understood ranked choice voting to be the law of the land

          7.      I understand that Bruce Poliquin and other voters have nO\-v filed a lawsuit

 arguing that Ranked Choice Voting should not be used to determine the winner of the 2018

 election . I feel angered the idea that the rules under ,-vh1ch I voted could be changed alter I have

 already cast my vote. As I stated. it~ when I cast my ballot, I was aware that Ranked Choice

 Voting would not be used , l would have nnt have risked my vote not being considered in a contest

 betv. ·een Bruce Poliquin and Jared Golden , and I ,vould have voted for Jared Golden . If the

 lawsu it is successful. I wil l be denied my right to vote



  I declare (or certify, verify or state ) under penalty of perjury that the foregoing is true and
  correct.



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